            Case 22-00102-5-DMW                    Doc 1 Filed 01/14/22 Entered 01/14/22 14:50:09                                   Page 1 of 9


Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                First Aid Painting, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1132 Shadow Lake Dr.
                                  Raleigh, NC 27615
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Wake                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                    NC
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
            Case 22-00102-5-DMW                        Doc 1 Filed 01/14/22 Entered 01/14/22 14:50:09                                         Page 2 of 9
Debtor    First Aid Painting, Inc.                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 2
            Case 22-00102-5-DMW                             Doc 1 Filed 01/14/22 Entered 01/14/22 14:50:09                                     Page 3 of 9
Debtor    First Aid Painting, Inc.                                                                        Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      Stephen Bradley Halferty                                      Relationship               Owner
                                                                 Eastern District of North
                                                     District    Carolina                  When         1/14/22                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
           Case 22-00102-5-DMW                    Doc 1 Filed 01/14/22 Entered 01/14/22 14:50:09                           Page 4 of 9
Debtor   First Aid Painting, Inc.                                                          Case number (if known)
         Name


16. Estimated liabilities           $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                                    $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
           Case 22-00102-5-DMW                     Doc 1 Filed 01/14/22 Entered 01/14/22 14:50:09                                     Page 5 of 9
Debtor    First Aid Painting, Inc.                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 14, 2022
                                                  MM / DD / YYYY


                             X   /s/ Stephen Bradley Halferty                                             Stephen Bradley Halferty
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ William E. Brewer, Jr.                                                Date January 14, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William E. Brewer, Jr. 7018
                                 Printed name

                                 Janvier Law Firm, PLLC
                                 Firm name

                                 311 East Edenton Street
                                 Raleigh, NC 27601
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     919-582-2323                  Email address


                                 7018 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
            Case 22-00102-5-DMW                           Doc 1 Filed 01/14/22 Entered 01/14/22 14:50:09                            Page 6 of 9
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re       First Aid Painting, Inc.                                                                         Case No.
                                                                                    Debtor(s)                 Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,662.00
             Prior to the filing of this statement I have received                                        $                     1,662.00
             Balance Due                                                                                  $                         0.00

2.     $     338.00       of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Filing motions to avoid npm security interest in HHG or tools of the trade; filing motions to avoid judical liens;

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtor(s) in any dischargeability actions, including student loan discharge issues, and other
               adversary proceedings: representation of the debtor in contested judicial or npm lien avoidance matters; only contested
               proceedings concerning the right of the IRS to continue to garnish or offset social security benefits; section 707(b)
               motions to dismiss, representation of the debtor in contested motions for relief from stay; representation of the debtor in
               objections to exemptions, filing motions to redeem collateral, 2004 production of documenation, 2004 depositions,
               assisting the debtor in negotiating reaffirmation agreements; If the debtor(s) chooses to employ the attorney in any of
               these matters, the debtor shall compensate the attorney at the hourly rate of $350.00 per hour, unless specifically
               provided for otherwise herein.

                  Additionally, filing motions to continue 341 creditors meeting and amended schedules as needed (for which a flat fee of
                  $150.00 shall be paid)
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 14, 2022                                                               /s/ William E. Brewer, Jr.
     Date                                                                           William E. Brewer, Jr. 7018
                                                                                    Signature of Attorney
                                                                                    Janvier Law Firm, PLLC
                                                                                    311 East Edenton Street
                                                                                    Raleigh, NC 27601
                                                                                    919-582-2323 Fax: 866-809-2379
                                                                                    Name of law firm



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         Case 22-00102-5-DMW                              Doc 1 Filed 01/14/22 Entered 01/14/22 14:50:09                      Page 7 of 9




                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      First Aid Painting, Inc.                                                                           Case No.
                                                                                     Debtor(s)                 Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       January 14, 2022                                             /s/ Stephen Bradley Halferty
                                                                          Stephen Bradley Halferty/President
                                                                          Signer/Title




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        Case 22-00102-5-DMW      Doc 1 Filed 01/14/22 Entered 01/14/22 14:50:09   Page 8 of 9



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Austin Law Firm, PLLC
Attn: John Austin
PO Box 30
Raleigh, NC 27601



Blue Sky Services Commercial Const
Attn: Managing Agent
1504 Stratlen Ct.
Raleigh, NC 27615



Internal Revenue Service
Attn: Managing Agent
PO Box 7346
Philadelphia, PA 19101-7346



John W. Reis
101 N. Tryon St., Ste. 1300
Charlotte, NC 28246




NC Dept. of Revenue
Attn: Bankruptcy Unit
PO Box 1168
Raleigh, NC 27602-1168



Stephen Bradley Halferty
1132 Shadow Lake Dr.
Raleigh, NC 27615




TC Atantic Group
Attn: Managing Agent
211 E. Six Forks Rd., Ste. 110
Raleigh, NC 27609



US Small Business Admin
Attn: Managing Agent
2 North Street, Suite 320
Birmingham, AL 35203



USAA Casualty Insurance Co
Attn: Managing Agent
9800 Fredericksburg Rd.
San Antonio, TX 78288
         Case 22-00102-5-DMW                              Doc 1 Filed 01/14/22 Entered 01/14/22 14:50:09                      Page 9 of 9




                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      First Aid Painting, Inc.                                                                           Case No.
                                                                                     Debtor(s)                 Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for First Aid Painting, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 January 14, 2022                                                       /s/ William E. Brewer, Jr.
 Date                                                                   William E. Brewer, Jr. 7018
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for First Aid Painting, Inc.
                                                                        Janvier Law Firm, PLLC
                                                                        311 East Edenton Street
                                                                        Raleigh, NC 27601
                                                                        919-582-2323 Fax:866-809-2379




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